           Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 1 of 19




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA,
                                                          20-CR-412 (AT)
                          v.

TIMOTHY SHEA,
                                      Defendant.
------------------------------------------------------X



                 DEFENDANT TIMOTHY SHEA’S MOTION IN LIMINE
             TO PRECLUDE THE INTRODUCTION OF CERTAIN EVIDENCE
                 PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)




Dated: April 7, 2022
       New York, NY                                               John Meringolo, Esq.
                                                                  Meringolo & Associates, PC
                                                                  375 Greenwich St., Fl. 7
                                                                  New York, NY 10013
                                                                  (212) 397-7900

                                                                  Attorney for Timothy Shea
             Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 2 of 19




                                                   TABLE OF CONTENTS

TABLE OF CONTENTS................................................................................................................. i

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................. 1

LEGAL STANDARD FOR THE MOTION .................................................................................. 3

DISCUSSION ................................................................................................................................. 6

   1.     EVIDENCE OF BACKDATED DOCUMENTS MUST BE EXCLUDED FROM THE
          GOVERNMENT’S CASE-IN-CHIEF ................................................................................ 6

   2.     EVIDENCE OF ALLEGED MISAPPROPRIATION OF $38,500 MUST BE
          EXCLUDED FROM THE GOVERNMENT’S CASE-IN-CHIEF..................................... 7

   3.     EVIDENCE THAT MR. SHEA FAILED TO DISCLOSE “SOME” INCOME TO THE
          IRS MUST BE EXCLUDED. ............................................................................................. 9

   4.     EVIDENCE OF A COVID ECONOMIC INJURY DISASTER LOAN MR. SHEA
          RECEIVED FOR RPMM MUST BE EXCLUDED. ........................................................ 11

   5.     EVIDENCE OF MR. SHEA’S ALLEGED STATEMENTS ABOUT “A NEW YORK
          MAFIA CRIME FAMILY” MUST BE EXCLUDED. ..................................................... 13

CONCLUSION ............................................................................................................................. 15




                                                                      i
            Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 3 of 19




                                          TABLE OF AUTHORITIES

                                                          Cases
Berger v. United States, 295 U.S. 78, 55 S. Ct. 629, 79 L. Ed. 1314 (1935)................................ 14

In re Agent Orange Prod. Liab. Litig., 611 F. Supp. 1223 (E.D.N.Y. 1985) aff’d sub nom. In re
   Agent Orange Prod. Liab. Litig. MDL No. 381, 818 F.2d 187 (2d Cir. 1987) ........................... 5

Manko v. United States, 63 Fed. Appx. 570 (2d Cir. 2003)............................................................ 5

McGautha v. California, 402 U.S. 183 (1973) ............................................................................... 3

Old Chief v. United States, 519 U.S. 172 (1997) ........................................................................ 4, 9

United States v. Berbal, 62 F.3d 456 (2d Cir. 1995) ...................................................................... 4

United States v. Bok, 156 F.3d 157 (2d Cir.1998) .......................................................................... 9

United States v. Carboni, 204 F.3d 39 (2d Cir. 2000) .................................................................... 3

United States v. Carlo, 507 F.3d 799 (2d Cir. 2007) ...................................................................... 6

United States v. Concepcion, 983 F.2d 369 (2d Cir. 1992) ............................................................ 3

United States v. Curley, 639 F.3d 50 (2d Cir. 2011) .................................................................... 14

United States v. Edwards, 342 F.3d 168 (2d Cir. 2003) ......................................................... 4, 5, 9

United States v. Garcia, 587 F.3d 509 (2d Cir. 2009) .................................................................... 6

United States v. Gigante, 166 F.3d 75 (2d Cir. 1999) .................................................................... 7

United States v. Graziano, 558 F.Supp.2d 304 (E.D.N.Y.2008) .................................................... 4

United States v. Halper, 590 F.2d 422 (2d Cir. 1978) .................................................................... 5

United States v. Hsu, 669 F.3d 112 (2d Cir. 2012) ..................................................................... 3, 9

United States v. Huezo, 546 F.3d 174 (2d Cir. 2008) ..................................................................... 6

United States v. O’Connor, 580 F.2d 38 (2d Cir. 1978) ............................................................... 13

United States v. Paulino, 445 F.3d 211 (2d Cir. 2006)............................................................. 5, 10

United States v. Pitre, 960 F.2d 1112 (2d Cir. 2003) ................................................................. 5, 9


                                                             ii
             Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 4 of 19




United States v. Pugh, 2003 WL 22132915 (D. Ct. Aug. 26, 2003) .............................................. 4

United States v. Quattrone, 441 F.3d 153 (2d Cir. 2006) ............................................................... 4

United States v. Quinones, 511 F.3d 289 (2d Cir. 2007) ................................................................ 3

United States v. Salovitz, 701 F.2d 17 (2d Cir. 1983)..................................................................... 3

United States v. Scott, 677 F.3d 72 (2d Cir. 2012) ................................................................... 5, 13

United States v. Shellef, 507 F.3d 82 (2d Cir. 2007) ...................................................................... 9

United States v. Tarricone, 996 F.2d 1414 (2d Cir. 1993) ....................................................... 5, 10

United States v. Towne, 870 F.2d 880 (2d Cir. 1989)..................................................................... 3

United States v. Vilar, No. 05 CR. 621 (RJS), 2008 WL 4178117 (S.D.N.Y. Sept. 5, 2008) ........ 3

United States v. Williams, 585 F.3d 703 (2d Cir. 2009) ................................................................. 3



                                                                 Statutes
26 U.S.C. § 7206 ........................................................................................................................... 11


                                                                   Rules
Fed.R.Evid. 401 .............................................................................................................................. 3

Fed.R.Evid. 402 .............................................................................................................................. 3

Fed.R.Evid. 403 ........................................................................................................................ 1, 14

Fed.R.Evid. 404(b)................................................................................................................. passim

Fed.R.Evid. 801(d)(2)(E) ................................................................................................................ 7


                                                         Other Authorities
Fed. R. Evid. 403 Advisory Committee’s Note ........................................................................ 4, 14




                                                                      iii
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 5 of 19




                               PRELIMINARY STATEMENT

       On April 4, 2022, the Government provided notice that it intended to seek a superseding

indictment of Mr. Shea “approximately 30 days before trial, which is likely to, among other

things, add one or more charges for obstruction of justice” and that, in the alternative, it would

attempt to introduce five categories of evidence against Mr. Shea as “direct evidence of one of

the current counts of the Indictment, or the expected obstruction charges” or, “in the alternative,

pursuant to Rule 404(b).” The Government’s letter is attached hereto as Exhibit A.

       Because none of the proffered evidence is relevant to the charges—conspiracy to commit

wire fraud and conspiracy to commit money laundering—in the current indictment and because

it is not admissible for any proper purpose under Federal Rules of Evidence 404(b) and 403, the

Defense moves to exclude the proffered evidence from the Government’s case-in-chief.

       Further, the Defense reserves the right to move at the appropriate time in the event the

Government brings a superseding indictment alleging obstruction of justice charges for any and

all necessary particulars and for the production of discoverable evidence of alleged obstruction

not produced to date.

                                  STATEMENT OF FACTS

       Mr. Shea stands accused of conspiring with others to commit wire fraud and to launder

funds resulting from that fraud in connection with We Build the Wall (“WBTW”), an entity that

was advertised to be a non-profit organization for the purpose of collecting donations intended to

be used to build a portion of the wall along the United States’ southern border, from December

2018 through August 2020. Mr. Shea is the CEO of Ranch Property Marketing and Management

(“RPMM”), a legitimate corporate entity that had business dealings with WBTW during the

period in question. Of the four original defendants in the case, only Mr. Shea has elected to
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 6 of 19




proceed to trial. Documentary evidence establishing the transactions between WBTW and

RPMM, and the communications between Mr. Shea and his former co-defendants, are

anticipated to form the substance of the Government’s evidence at trial.

       The Government advises the Defense that it intends to introduce five items or categories

of evidence in its case-in-chief either as direct evidence (assuming a superseding indictment is

sought and obtained) or under Fed.R.Evid. 404(b):

   •   Evidence that Mr. Shea conspired with Brian Kolfage and his wife, Amanda Shea, to

       “create two backdated documents that purported to relate to seemingly benign, alternative

       reasons for why money was transferred from [WBTW] to [RPMM] and from RPMM to

       Kolfage” in October 2019 after learning of the existence of the grand jury’s investigation;

   •   Evidence that, in June 2020, Mr. Shea “and Kolfage misappropriated $38,500 from We

       Build the Wall as a purported “loan” to their energy drink company, Winning Energy

       LLC”;

   •   Evidence that “during the period of the crimes charged in the Indictment, the defendant

       did not disclose to the Internal Revenue Service certain income from his participation in

       the crimes charged;”

   •   “Evidence that, in May 2020, the defendant caused RPMM to receive a $59,700 COVID

       Economic Injury Disaster Loan and Advance from the Small Business Administration

       based on misrepresentations about RPMM, and then used those funds for personal

       expenses;” and

   •   Evidence that, “in approximately July 2021, the defendant conveyed to a witness that he

       believed co-defendant Andrew Badolato was cooperating with the Government, and that




                                                2
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 7 of 19




       Badolato should, in sum and substance, watch his back because the defendant knows

       people in a New York mafia crime family.”

       Although this last item is patently ridiculous and defies logic and common sense, the

Defense addresses the admissibility of each item of proffered evidence in turn.

                          LEGAL STANDARD FOR THE MOTION

       “The Constitution requires no more than that trials be fairly conducted and that

guaranteed rights of defendants be scrupulously respected.” United States v. Salovitz, 701 F.2d

17, 21 (2d Cir. 1983) (quoting McGautha v. California, 402 U.S. 183, 221 (1973)). In

furtherance of this requirement, only relevant evidence – evidence that “has any tendency to

make a fact [that is of consequence in determining the action] more or less probable than it

would be without the evidence” is admissible at trial. Fed.R.Evid. 401; 402. “Irrelevant evidence

is not admissible.” Fed.R.Evid. 402. See United States v. Towne, 870 F.2d 880, 886 (2d Cir.

1989) (to be relevant, evidence needs to tend to prove the government’s case); United States v.

Williams, 585 F.3d 703, 707 (2d Cir. 2009) (same).

        Direct proof includes only evidence that “ ‘arose out of the same transaction or series of

transactions as the charged offense, ... is inextricably intertwined with the evidence regarding the

charged offense, or ... is necessary to complete the story of the crime on trial.’ ” United States v.

Hsu, 669 F.3d 112, 118 (2d Cir. 2012) (quoting United States v. Carboni, 204 F.3d 39, 44 (2d

Cir. 2000)). Where uncharged conduct is “treated as ‘part of the very act charged,’ or, at least,

proof of that act,’ that evidence ‘must nonetheless satisfy the balancing test set forth in Federal

Rule of Evidence 403.’” United States v. Vilar, No. 05 CR. 621 (RJS), 2008 WL 4178117, at *2

(S.D.N.Y. Sept. 5, 2008) (citing United States v. Quinones, 511 F.3d 289, 309 (2d Cir. 2007)

(quoting United States v. Concepcion, 983 F.2d 369, 392 (2d Cir. 1992)); United States v.




                                                 3
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 8 of 19




Graziano, 558 F.Supp.2d 304, 320 (E.D.N.Y.2008); United States v. Pugh, 2003 WL 22132915

at *2 (D. Ct. Aug. 26, 2003) (citing United States v. Berbal, 62 F.3d 456, 463 (2d Cir. 1995)

(there is no exception to the Rule 403 analysis for “intertwined” evidence)).

       Under Rule 403, the trial court must consider whether the proffered evidence: (1) is

offered for a proper purpose; (2) is relevant to a disputed trial issue; (3) its probative value is

substantially outweighed by its possible prejudice; and (4) the trial court must administer an

appropriate limiting instruction. United States v. Edwards, 342 F.3d 168, 176 (2d Cir. 2003).

       “[W]hat counts as the Rule 403 probative value’ of an item of evidence, as distinct from

its Rule 401 ‘relevance,’ may be calculated by comparing evidentiary alternatives . . . [W]hen a

court considers’ whether to exclude on grounds of unfair prejudice,’ the ‘availability of other

means of proof may . . . be an appropriate factor.’” Old Chief v. United States, 519 U.S. 172, 184

(1997) (quoting Advisory Committee’s Notes on Fed. R. Evid. 403). “The term ‘unfair prejudice,’

as to a criminal defendant, speaks to the capacity of some concededly relevant evidence to lure

the factfinder into declaring guilt on a ground different from proof specific to the offense

charged . . . ‘Unfair prejudice’ within its context means an undue tendency to suggest decision

on an improper basis, commonly, though not necessarily, an emotional one.” Id. at 180-81

(internal quotation and citation omitted). Such prejudice “may be created by the tendency of the

evidence to prove some adverse fact not properly in issue or unfairly to excite emotions against

the defendant.” United States v. Quattrone, 441 F.3d 153, 186 (2d Cir. 2006). Thus, evidence

must be excluded that “unduly inflame[s] the passion of the jury, confuse[s] the issues before the

jury, or inappropriately lead[s] the jury to convict on the basis of conduct not at issue in the trial.”

Quattrone, 441 F.3d at 186. “Exclusion of evidence of low probative value is particularly

appropriate when admission would result in expenditure of substantial trial time and jury




                                                  4
          Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 9 of 19




confusion.” In re Agent Orange Prod. Liab. Litig., 611 F. Supp. 1223, 1255-56 (E.D.N.Y. 1985)

aff’d sub nom. In re Agent Orange Prod. Liab. Litig. MDL No. 381, 818 F.2d 187 (2d Cir. 1987);

See also Manko v. United States, 63 Fed. Appx. 570, 573 (2d Cir. 2003) (“We have held that “[a]

trial judge has discretion to exclude evidence [that] is only slightly probative if its introduction

would confuse and mislead the jury by focusing its attention on collateral issues and if it would

unnecessarily delay the trial.”) (internal citations omitted).

       The evidentiary rules also permit introduction of “other act” evidence under Fed.R.Evid.

404(b) to prove only “motive, opportunity, intent, preparation, plan, knowledge, identity, absence

of mistake, or lack of accident.” Fed. R. Evid. 404(b)(2). “[I]t is by no means [the Second

Circuit’s] view that such evidence is either presumed relevant or automatically admissible. Its

relevance to an issue truly in dispute must be demonstrated.” United States v. Halper, 590 F.2d

422, 432 (2d Cir. 1978). Even under the Second Circuit “inclusory” approach to other act

evidence, other act evidence is not admissible if: (1) it is offered to show a defendant’s character

or for some other improper purpose; (2) it is not relevant to a consequential issue at trial; (3) its

probative value is substantially outweighed by its possible prejudice. See Edwards, 342 F.3d at

176 (citing Pitre, 960 F.2d at 1119); see also Scott, 677 F.3d at 81 (To be admissible under Rule

404(b), other act evidence must be more than relevant under Fed.R.Evid. 401. It must be

“relevant to an issue in dispute.”) (emphasis in original).

       Further, “when a defendant ‘unequivocally’ relies on a defense that he ‘did not do the

charged act at all, . . . evidence of other acts is not admissible for the purpose of proving [the]

intent’ or knowledge with which he acted.” United States v. Paulino, 445 F.3d 211, 221 (2d Cir.

2006) (quoting United States v. Tarricone, 996 F.2d 1414, 1421-22 (2d Cir. 1993) (internal

quotation marks omitted)).




                                                   5
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 10 of 19




                                        DISCUSSION

    1. EVIDENCE OF BACKDATED DOCUMENTS MUST BE EXCLUDED FROM
       THE GOVERNMENT’S CASE-IN-CHIEF

       Mr. Shea is charged with conspiracy to commit wire fraud and conspiracy to commit

money laundering. Both wire fraud conspiracy and money laundering conspiracy are specific

intent crimes1, requiring proof beyond a reasonable doubt that Mr. Shea “knowingly engaged in

the conspiracy with the specific intent to commit the offenses that [are] the objects of the

conspiracy.” United States v. Garcia, 587 F.3d 509, 515 (2d Cir. 2009) (quoting United States v.

Huezo, 546 F.3d 174, 180 (2d Cir. 2008) (additional citation omitted)). The Government seeks to

introduce evidence of backdated documents from October 2019 to prove Mr. Shea tried to

mislead a grand jury investigation because he knew he had done something wrong. But

backdated documents – assuming, arguendo, that they in fact exist – do not prove that Mr. Shea

knew at the moment he committed the offense beginning in December 2018 – again, assuming,

arguendo, and for purposes of this motion only that an offense was committed—that what he

was doing was wrong or that he had the mens rea that the law requires at the relevant time. The

applicable statutes require willful wrongdoing at the time of the offense, not after-the-fact

recognition that an act already undertaken was wrong.

       Moreover, evidence of allegedly backdated documents between WBTW and RPMM –

internal agreements that there is no evidence the public ever saw or knew of -- does not

constitute evidence that Mr. Shea or his company conspired to mislead the public, which is the

heart of the charges here.



1
 See United States v. Carlo, 507 F.3d 799, 801 (2d Cir. 2007) (wire fraud conspiracy); United
States v. Garcia, 587 F.3d 509, 515 (2d Cir. 2009) (money laundering conspiracy)



                                               6
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 11 of 19




       But even if the Court were to conclude that the backdated documents have some

probative value as direct evidence of the alleged offenses, additional hurdles remain before they

would be admissible against Mr. Shea that the prosecution cannot overcome. First, to the extent

Mr. Shea’s wife is alleged to have been a party to any relevant conversations or actions, any

communications between her and Mr. Shea are protected by the spousal communications

privilege. Second, to the extent the Government will seek to introduce the backdated documents

and/or any communications about them through co-conspirator testimony, the Government must

first establish the existence of the conspiracy and Mr. Shea’s participation in it. See, e.g., United

States v. Gigante, 166 F.3d 75, 82 (2d Cir. 1999) (before a hearsay statement of a co-conspirator

may be admitted, the district court must find by a preponderance of the evidence “first, that a

conspiracy existed that included the defendant and the declarant; and second, that the statement

was made during the course of and in furtherance of that conspiracy. “); Fed.R.Evid.

801(d)(2)(E) (hearsay exceptions).

       Finally, to the extent the Government proffers that the backdated documents would be

admissible under 404(b), which permits “other act” evidence to prove only “motive, opportunity,

intent, preparation, plan, knowledge, identity, absence of mistake, or lack of accident,” the

backdated documents must be excluded because, again, they prove nothing as to the state of Mr.

Shea’s mind or his “motive, intent, preparation, plan, or knowledge” at the time that the alleged

offense conduct began.

   2. EVIDENCE OF ALLEGED MISAPPROPRIATION OF $38,500 MUST BE
      EXCLUDED FROM THE GOVERNMENT’S CASE-IN-CHIEF.

       The alleged evidence that, in June 2020, Mr. Shea and Kolfage “misappropriated $38,500”

from WBTW as a “loan” to Winning Energy, LLC, must likewise be excluded from the

Government’s case-in-chief as it is neither direct evidence of Mr. Shea’s participation in the


                                                 7
        Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 12 of 19




charged conspiracies nor admissible under 404(b). The Indictment alleges that Bannon and

Kolfage, not Shea, “repeatedly and falsely assured the public that Kolfage would ‘not take a

penny in salary or compensation’ and that ‘100% of the funds raised . . . will be used in the

execution of [WBTW’s] mission and purpose’ . . .” Indictment at ¶ 1. There is no allegation that

Mr. Shea ever made such representations or even that he knew they were made. Further,

although the Indictment asserts that “[b]eginning in January 2019,” Mr. Shea and his co-

defendants “caused” WBTW “to mislead donors, promising them repeatedly that ‘100 percent’

of the funds would be used for construction of a wall” (Indictment at ¶ 9), the Defense has not

seen evidence that Mr. Shea in fact made such representations or was involved in the making of

such representations. To the contrary, the “public narrative” was “crafted by” Kolfage, Bannon,

and Badolato (Indictment at ¶ 17), not by Mr. Shea.

       Further, the forward-looking statement that all funds would be used for the wall is not

rendered invalid by the fact that funds were subsequently used for another purpose in addition to

the funding of the wall. Without evidence of the mens rea at the time the statements were made,

what happened after the fact cannot establish that statements about the intended use of the funds

were intentional or willful misrepresentations at the time they were made.

       Similarly, evidence of use of WBTW’s funds as a loan is not evidence that those funds

were not subsequently returned to WBTW with interest for use in the construction of the border

wall. A loan is, by its nature, temporary. That a loan was made (again, assuming, arguendo, the

veracity of the Government’s allegations for the purposes of this motion only) proves nothing

about what occurred thereafter. Finally, because the alleged loan is extraneous to, and did not

“ar[i]se out of the same transaction or series of transactions as the charged offense, ... is [not]

inextricably intertwined with the evidence regarding the charged offense, [and] ... is [not]




                                                8
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 13 of 19




necessary to complete the story of the crime on trial’ ” (United States v. Hsu, 669 F.3d 112, 118

(2d Cir. 2012) (internal citation omitted)), it must be excluded.

       Evidence of the alleged “misappropriation” is, therefore, not admissible as direct

evidence that Mr. Shea made false statements about the use of WBTW’s funds or that he knew of

and adopted the false statements of others.

       Nor is evidence of the alleged loan admissible under 404(b) because it is of low (if any)

probative value and because it cannot meet the balancing test described in Old Chief—there

surely must be more probative, less prejudicial, and more direct evidence of knowing

misrepresentations concerning the use of WBTW’s funds, if the Government’s allegations

against Mr. Shea are to be substantiated at trial.

   3. EVIDENCE THAT MR. SHEA FAILED TO DISCLOSE “SOME” INCOME TO
      THE IRS MUST BE EXCLUDED.

       The Second Circuit has held that “a defendant's past taxpaying record is admissible to

prove willfulness circumstantially.” United States v. Shellef, 507 F.3d 82, 101 (2d Cir. 2007)

(quoting United States v. Bok, 156 F.3d 157, 165 (2d Cir.1998); cf. Fed.R.Evid. 404(b)

[“Evidence of other crimes, wrongs, or acts” may be admissible to prove, inter alia, “intent, ...

knowledge, ... or absence of mistake or accident....”]). However, as with any other act evidence,

failure to pay taxes is not admissible if: (1) it is offered to show a defendant’s bad character or

for some other improper purpose; (2) it is not relevant to a consequential issue at trial; or (3) its

probative value is substantially outweighed by its possible prejudice. See Edwards, 342 F.3d at

176   (citing Pitre, 960 F.2d at 1119 ); Fed.R.Evid. 404(b). Further, “when a defendant

‘unequivocally’ relies on a defense that he ‘did not do the charged act at all, . . . evidence of

other acts is not admissible for the purpose of proving [the] intent’ or knowledge with which he




                                                     9
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 14 of 19




acted.” Paulino, 445 F.3d at 221 (quoting Tarricone, 996 F.2d at 1421-22 (internal quotation

marks omitted)).

       Here, Mr. Shea’s alleged failure to report “certain income” from his alleged participation

in the charged conspiracy to the IRS is of questionable accuracy and so vague that it has nothing

probative to add to the case. The Government’s 404(b) letter does not provide specifics of the

allegedly unreported monies. It does not explain whether the failure to report is attributable to Mr.

Shea personally or to his company. It does not provide a timeframe for the alleged failure to

report, the specific source of the unreported income, or a dollar amount. It is impermissibly

vague, verging on speculative. In a case focused on dollar amounts, the Defense would anticipate

that the Government would be able to proffer an exact sum of allegedly unpaid tax, or at least the

exact amount of income on which the tax was not paid. That the Government has not done so

leads the Defense to question the veracity of the source of the Government’s information.2

       More importantly, the proffered tax evidence is inadmissible to prove anything about Mr.

Shea’s frame of mind (knowledge, intent, etc.) under 404(b) because Mr. Shea has asserted,

through his plea of not guilty that he has not committed the charged offenses at all. See Paulino,

445 F.3d at 221.

       But even if the Government’s assertion is true, Mr. Shea’s tax returns, whether personal

or corporate, simply have nothing probative to add to the case. Filing a tax return with materially

false information, including the failure to report earned income, is a separate crime having to do

with the reporting of the income but saying nothing as to the source of that income. Title 26 of

the United States Code § 7206 provides that anyone who “[w]illfully makes and subscribes any



2
  If the Government is in fact in possession of IRS documentation to substantiate this assertion,
the Defense herewith moves for its immediate production so that the Defense may adequately
evaluate it.

                                                10
        Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 15 of 19




return, statement, or other document, which contains or is verified by a written declaration that it

is made under the penalties of perjury, and which he does not believe to be true and correct as to

every material matter . . .shall be guilty of a felony . . .” 26 U.S.C. § 7206. Thus, if a taxpayer

received only legitimate income, yet failed to declare part of that income, he would be guilty of a

crime. The question of whether income is honestly earned or fraudulently obtained has no

bearing on whether it is accurately declared on a tax return, and the numerical contents of a tax

return form 1040, likewise, cannot speak to the source of that income. The Government’s

argument that Mr. Shea’s failure to report “certain income” to the IRS is probative evidence that

any such income was fraudulently obtained makes no sense.

       Further, to the extent the Government proffers that the evidence of unreported income is

evidence of “consciousness of guilt,” it must be excluded under Rule 404(b) because

“consciousness of guilt” is not a permitted ground for the introduction of “other act” evidence.

   4. EVIDENCE OF A COVID ECONOMIC INJURY DISASTER LOAN MR. SHEA
      RECEIVED FOR RPMM MUST BE EXCLUDED.
       The Government seeks to admit evidence concerning a small business loan Mr. Shea

obtained for RPMM, as part of the Small Business Administration’s COVID Economic Injury

Disaster Loan and Advance Program. The Government alleges that the $59,700 loan was given

“based on misrepresentations about RPMM” and that Mr. Shea “then used those funds for

personal expenses.” The Government alleges that the evidence is direct proof of the charged

money laundering conspiracy as it establishes Mr. Shea’s ownership of the company or

alternatively, that the evidence is admissible under Rule 404(b) to establish plan, identity,

knowledge, and absence of mistake.

       As an initial matter, and as the Government is quite aware from readily available

documentary evidence, Mr. Shea lawfully obtained a loan for RPMM. If admitted at trial, the



                                                11
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 16 of 19




Defense is ready to vehemently disprove the allegations of misrepresentation. But the Defense

should not have to do that. Mr. Shea’s application for a COVID loan has nothing to do with

whether or not he conspired with others to commit wire fraud in connection with WBTW or

whether he conspired with others to launder the proceeds of that wire fraud. RPMM’s business

loan is wholly distinct and independent from anything related to WBTW. It is not direct proof of

the offense conduct. It does not arise out of his interactions with his co-defendants. It has no

probative value as to any of the allegations in the Indictment. It is, moreover, entirely

unnecessary to prove the main point for which the Government has proffered admissibility of the

COVID loan: Mr. Shea’s ownership of RPMM is not in dispute. Mr. Shea has never denied the

existence of his business or his ownership of it.

       In addition, the Government’s boilerplate assertions fail to establish that the RPMM

business loan constitutes other act evidence under 404(b). If the Government fails to demonstrate

the other-act evidence “provide[s] a reasonable basis for inferring knowledge, [intent or other

issue in dispute],” its offer of the evidence for that purpose must be “rejected on grounds of

relevance.” See United States v. Gordon, 987 F.2d 902, 908 (2d Cir. 1993). In this instance, the

RPMM loan, which defense counsel maintains is entirely lawful, does not provide a reasonable

basis for inferring or establishing any knowledge as it relates to the charged offenses, which are

entirely independent, separate, and distinct from the facts and circumstances surrounding the

WBTW campaign. As such, the evidence must be excluded as irrelevant.

       Finally, even if the Government could establish a modicum of tangential relevance

between the COVID loan and the charged conduct, the “trial within a trial” that would ensue in

order for defense counsel to rebut the false allegation that the COVID loan was obtained through

misrepresentations or that Mr. Shea spent the loan in ways not intended by the Small Business




                                                    12
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 17 of 19




Administration would be a colossal waste of time and create undue delay and confusion of the

issues, making it prohibited under Rule 403.

   5. EVIDENCE OF MR. SHEA’S ALLEGED STATEMENTS ABOUT “A NEW
      YORK MAFIA CRIME FAMILY” MUST BE EXCLUDED.

       The Government also seeks to admit evidence that in July 2021, Mr. Shea conveyed to a

witness that he believed co-defendant Andrew Badolato was cooperating with the Government

and that Badolato should “in sum and substance” “watch his back” because Mr. Shea “knows

people in a New York mafia crime family.” The Government contends such evidence is direct

proof of Mr. Shea’s “consciousness of guilt,” and “anticipated obstruction of justice charges,” or

in the alternative, 404(b) evidence to establish intent, knowledge, and absence of mistake.

       These allegations, which are entirely meritless and not based on even a modicum of truth

cannot be considered “direct evidence” of anything, much less direct proof of the charged

conduct. Mr. Shea, a Colorado resident who has never set foot in New York but for a family

vacation, is not charged with an offense even tenuously associated with any sort of violence,

much less any violence related to any type of “New York mafia crime family.” He is

unequivocally and definitively unrelated to, and unassociated with, any individual or group that

could even conceivably be described as such. The Government’s false allegations, if not so

consequential to this very important moment in Mr. Shea’s life, would be laughable.

       Evidence may not be admitted under Rule 404(b) unless it is “relevant to an issue in

dispute.” Scott, 677 F.3d at 81 (emphasis supplied). The burden is on the Government to clearly

articulate how proffered prior act evidence fits into a chain of logical inferences and is, therefore,

specifically offered for a proper purpose. See Scott, 677 F.3d at 81 (citing United States v.

O’Connor, 580 F.2d 38, 40 (2d Cir. 1978) (“[T]he prosecutor must show that the evidence is

relevant, and there is no presumption that it is.”)). In this instance, there is no logical explanation


                                                  13
           Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 18 of 19




for how such an unsupported statement – which Mr. Shea vehemently denies – could be related

to any factual issue in dispute at trial. It is clear that the proffered statement is offered not for any

proper 404(b) purpose but with the sole intention of inflaming the jury and frightening the jurors

with mention of “mafia crime families” into convicting Mr. Shea on an improper basis.

        The unfair prejudice that would result from the admission of this evidence cannot be

overstated. Unfair prejudice in this context “means an undue tendency to suggest decision on an

improper basis.” Fed. R. Evid. 403 Advisory Committee’s Note. Where evidence “tends to have

some adverse effect upon a defendant beyond tending to prove the fact or issue that justified its

admission into evidence,” it is properly excluded as unfairly prejudicial under Rule 403. See

United States v. Curley, 639 F.3d 50, 57 (2d Cir. 2011). One would be hard-pressed to craft a

better example of evidence that tends to suggest decision on an improper basis than the mention

of a completely unrelated, unsupported statement of alleged “mafia” ties.

        Lastly, we respectfully remind the Government of the high standard to which they should

be held during the trial of this matter. As the Supreme Court has instructed in an oft-quoted

opinion:

        The United States Attorney is the representative not of an ordinary party to a
        controversy, but of a sovereignty whose obligation to govern impartially is as
        compelling as its obligation to govern at all; and whose interest, therefore, in a
        criminal prosecution is not that it shall win a case, but that justice shall be done.
        As such, he is in a peculiar and very definite sense the servant of the law, the
        twofold aim of which is that guilt shall not escape or innocence suffer. He may
        prosecute with earnestness and vigor-indeed, he should do so. But, while he may
        strike hard blows, he is not at liberty to strike foul ones. It is as much his duty to
        refrain from improper methods calculated to produce a wrongful conviction
        as it is to use every legitimate means to bring about a just one.

Berger v. United States, 295 U.S. 78, 88, 55 S. Ct. 629, 633, 79 L. Ed. 1314 (1935) (emphasis

supplied).




                                                   14
         Case 1:20-cr-00412-AT Document 170 Filed 04/08/22 Page 19 of 19




        There is no proper basis for the admission of this inflammatory and fabricated statement.

It must not be admitted at trial.

                                        CONCLUSION

        WHEREFORE, protection of Mr. Shea’s Sixth Amendment right to a fair trial counsels

that none of the five categories of proffered “other act” evidence should be admitted in the

Government’s case-in-chief at trial.


Dated: April 7, 2022                                       s/John Meringolo
       New York, NY                                        John Meringolo, Esq.
                                                           Meringolo & Associates, PC
                                                           375 Greenwich St., Fl. 7
                                                           New York, NY 10013
                                                           (212) 397-7900

                                                           Attorney for Timothy Shea




                                               15
